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                                                                  United States District Court
                                                                    Southern District of Texas

                                                                       ENTERED
                                                                      March 20, 2024
                                                                    Nathan Ochsner, Clerk
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